     Case 1:24-cv-00864-DII Document 1-15 Filed 08/01/24 Page 1 of 16


                 UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF TEXAS
                        AUSTIN DIVISION


QUICKVAULT, INC.,

               Plaintiff,                      Case No.: 1:24-cv-00864

    v.

BROADCOM INC., d/b/a BROADCOM               JURY TRIAL DEMANDED
CORPORATION

               Defendant.




                      EXHIBIT N

    ’029 Patent Infringement Claim Chart
                               Case 1:24-cv-00864-DII Document 1-15 Filed 08/01/24 Page 2 of 16




                              EXHIBIT N: U.S. PATENT NO. 11,568,029 INFRINGEMENT CLAIM CHART1

           Claim 1                                                  Broadcom Symantec VIP

    A computer-              The preamble is presumptively not limiting. To the extent the preamble is limiting, Symantec VIP performs
    implemented method       a computer-implemented method for remote data access using a user device.
    for remote data
    access using a user
    device, the computer-
    implemented method
    comprising:




                             (https://www.broadcom.com/products/identity/vip)

    receiving, by a
    remote computer
    from the user device,
    an authentication
    request comprising a
    user device unique
    identifier, a software
    identifier, and a

1
  The evidence of infringement identified in the below chart is exemplary and nonlimiting. QuickVault reserves the right to rely on
additional and/or alternative aspects of Symantec VIP and related components during this litigation for the purpose of establishing
infringement.
                                                                        1
                         Case 1:24-cv-00864-DII Document 1-15 Filed 08/01/24 Page 3 of 16




      Claim 1                                                Broadcom Symantec VIP
mobile authentication
device unique
identifier,




                        (https://docs.broadcom.com/doc/symantec-vip)




                                                                  2
           Case 1:24-cv-00864-DII Document 1-15 Filed 08/01/24 Page 4 of 16




Claim 1                                      Broadcom Symantec VIP




          (https://www.youtube.com/watch?v=SdY13B5mExI (5:47))




                                                3
           Case 1:24-cv-00864-DII Document 1-15 Filed 08/01/24 Page 5 of 16




Claim 1                                      Broadcom Symantec VIP




          (https://www.youtube.com/watch?v=SdY13B5mExI (1:33))




                                                4
           Case 1:24-cv-00864-DII Document 1-15 Filed 08/01/24 Page 6 of 16




Claim 1                                      Broadcom Symantec VIP




          (https://www.youtube.com/watch?v=SdY13B5mExI (3:30))




                                                5
                          Case 1:24-cv-00864-DII Document 1-15 Filed 08/01/24 Page 7 of 16




      Claim 1                                               Broadcom Symantec VIP

wherein the mobile
authentication device
unique identifier is
provided to the user
device from a mobile
authentication device,




                         (https://www.youtube.com/watch?v=SdY13B5mExI (1:33))




                                                               6
           Case 1:24-cv-00864-DII Document 1-15 Filed 08/01/24 Page 8 of 16




Claim 1                                      Broadcom Symantec VIP




          (https://www.youtube.com/watch?v=SdY13B5mExI (3:30))




                                                7
                           Case 1:24-cv-00864-DII Document 1-15 Filed 08/01/24 Page 9 of 16




      Claim 1                                                     Broadcom Symantec VIP

wherein the software
identifier is
associated with a
software application
stored on the user
device,




                        (https://docs.broadcom.com/doc/symantec-vip)

wherein the user        The device unique identifier and the software identifier are associated with a software license to at least
device unique           Symantec VIP stored on the remote computer.
identifier and the
software identifier are
further associated
with a software


                                                                       8
                          Case 1:24-cv-00864-DII Document 1-15 Filed 08/01/24 Page 10 of 16




       Claim 1                                                   Broadcom Symantec VIP
license stored on the
remote computer, and




                         (https://www.broadcom.com/products/identity/vip)

wherein the mobile       The mobile authentication device is associated with a software license to at least Symantec VIP stored on
authentication device    the remote computer.
is associated with the
software license
stored on the remote
computer;




                         (https://www.broadcom.com/products/identity/vip)


                                                                     9
                          Case 1:24-cv-00864-DII Document 1-15 Filed 08/01/24 Page 11 of 16




       Claim 1                                                Broadcom Symantec VIP

determining, by the
remote computer,
whether the user
device unique
identifier is valid in
combination with the
software license
stored on the remote
computer;                (https://docs.broadcom.com/doc/symantec-vip)




                         (https://www.youtube.com/watch?v=SdY13B5mExI (5:47))




                                                                  10
                           Case 1:24-cv-00864-DII Document 1-15 Filed 08/01/24 Page 12 of 16




       Claim 1                                                 Broadcom Symantec VIP

validating, by the
remote computer,
using the software
identifier and the user
device unique
identifier, whether
the software
application stored on
the user device is
authorized for use on
the user device;




                          (https://docs.broadcom.com/doc/symantec-vip)




                                                                   11
                         Case 1:24-cv-00864-DII Document 1-15 Filed 08/01/24 Page 13 of 16




      Claim 1                                              Broadcom Symantec VIP

upon validating, by
the remote computer,
that the software
application is
authorized for use on
the user device,
transmitting, by the
remote computer to
the user device, a
validation message
associated with the
user device; and




                        (https://www.youtube.com/watch?v=SdY13B5mExI (2:35))




                                                              12
           Case 1:24-cv-00864-DII Document 1-15 Filed 08/01/24 Page 14 of 16




Claim 1                                     Broadcom Symantec VIP




          (https://www.youtube.com/watch?v=SdY13B5mExI (2:39)




                                                13
                        Case 1:24-cv-00864-DII Document 1-15 Filed 08/01/24 Page 15 of 16




      Claim 1                                             Broadcom Symantec VIP

responsive to
transmitting the
validation message,
transmitting, by the
remote computer,
data to the user
device.




                       (https://www.youtube.com/watch?v=SdY13B5mExI (2:45))




                                                             14
           Case 1:24-cv-00864-DII Document 1-15 Filed 08/01/24 Page 16 of 16




Claim 1                                      Broadcom Symantec VIP




          (https://www.youtube.com/watch?v=SdY13B5mExI (2:54))




                                                15
